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 3
     Attorney for defendant,
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 5
                           UNITED STATES DISTRICT COURT
 6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                  ) Case No. 13-CRS-227 GEB
     UNITED STATES OF AMERICA,      )
 9                                  ) STIPULATION AND PROPOSED
              Plaintiff,            ) ORDER CONTINUING STATUS
10                                  ) CONFERENCE AND EXCLUDING
         vs.                        ) TIME
11                                  )
     FRANCISCO ARRELLANEZ., et al., )
12                                  )
              Defendants.           )
13

14   Plaintiff, United States of America, by and through its counsel of record, and
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     Defendants, by and through their counsel of record, hereby stipulate as follows:
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        1. By previous order, this case was set for a Status Conference to be held on
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18         October 23, 2015.
19      2. By this stipulation, all the undersigned Defendants agree to continue the
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           Status Conference to December 4, 2015, at 9:00 a.m. The parties stipulate to
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22         exclude time until December 4, 2015, under Local Code T4. Plaintiff does

23         not oppose this request.
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        3. The parties agree, stipulate, and request that the Court find the following:
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 1
      a. The undersigned defense counsel continue to need time to review

 2       discovery, continue to conduct investigation, and to otherwise prepare
 3
         for trial, or alternatively, resolution by way of written plea agreement.
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      b. Counsel for Defendants believe that failure to grant the above-
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 6       requested continuance would deny them the reasonable time necessary

         for effective preparation, taking into account the exercise of due
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 8
         diligence.
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10    c. Due to the need for attorney preparation, the ends of justice served by
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         continuing the case as requested outweigh the interest of the public
12
         and the defendants in a criminal trial within the time prescribed by the
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14       Speedy Trial Act.
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      d. For the purpose of computing time under the Speedy Trial Act, 18
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         U.S.C. § 3161, et seq., within which trial must commence, the time
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18       until December 4, 2015, is deemed excludable pursuant to 18 U.S.C. §

19       3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
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         continuance granted by the Court at defendants’ request on the basis
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22
         of the Court’s finding that the ends of justice served by taking such

23       action outweigh the best interest of the public and the defendant in a
24
         speedy trial.
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 1
       4. Nothing in this stipulation and order shall preclude a finding that other

 2        provisions of the Speedy Trial Act dictate that additional time periods are
 3
          excludable from the period within which a trial must commence.
 4
       IT IS SO STIPULATED
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 6   DATED: October 22, 2015                      /s/ Timothy E. Warriner, Attorney for
                                                  Defendant, Francisco Arrellanez
 7

 8   DATED: October 22, 2015                      /s/ Dina L. Santos for Defendant,
                                                  Jovanny Arellanes
 9

10   DATED: October 22, 2015                      /s/ Richard Dudek, Attorney for
                                                  Defendant, Efrain Padilla Pena
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12   DATED: October 22, 2015                      /s/ Todd Pickles, Assistant
                                                  U.S.Attorney
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14
     IT IS SO ORDERED
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17   DATED: 10/22/15                        __________________________________
18                                         UNITED STATES DISTRICT JUDGE

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